  Case: 1:17-md-02804-DAP Doc #: 5030 Filed: 05/12/23 1 of 3. PageID #: 612296




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                    ) MDL No. 2804
 OPIATE LITIGATION                               )
                                                 ) Case No. 1:17-md-2804
 This document relates to:                       )
                                                 ) Judge Dan Aaron Polster
 All Cases Noted on Attached Appendix A          )

   STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
       IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs identified in

Appendix A (the “Settling Plaintiffs”) and Defendants Meijer, Inc., Meijer Distribution, Inc.,

Meijer Stores Limited Partnership, and any other Meijer entities named in the lawsuits identified

in Appendix A (collectively “Meijer”) to dismiss with prejudice all claims asserted by the Settling

Plaintiffs against Meijer in the actions identified on Appendix A, pursuant to the terms of a

settlement agreement reached between Settling Plaintiffs and Meijer. This dismissal of claims

extends to Meijer only, and not as to any other defendant in these actions. Accordingly, Settling

Plaintiffs’ claims against Meijer are DISMISSED WITH PREJUDICE, without costs as to any

party against the other.

Dated: May 9, 2023

       Signed as authorization for Dismissing Plaintiffs identified in Appendix A.


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Case: 1:17-md-02804-DAP Doc #: 5030 Filed: 05/12/23 2 of 3. PageID #: 612297




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                                     2
  Case: 1:17-md-02804-DAP Doc #: 5030 Filed: 05/12/23 3 of 3. PageID #: 612298




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SO ORDERED this 12th day of May, 2023

    /s/Dan Aaron Polster
Hon. Dan Aaron Polster
United States District Judge




                                            3
